                     Case 2:15-cv-07425-RGK-PLA Document 485 Filed 08/26/22 Page 1 of 19 Page ID
                                                     #:12613



                       1 DAVID R. ZARO (BAR NO. 124334)
                         ALLEN MATKINS LECK GAMBLE
                       2 MALLORY & NATSIS LLP
                         865 S. Figueroa Street, Suite 2800
                       3 Los Angeles, California 90017-2543
                         Phone: (213) 622-5555
                       4 Fax: (213) 620-8816
                         E-Mail: dzaro@allenmatkins.com
                       5
                         EDWARD G. FATES (BAR NO. 227809)
                       6 ALLEN MATKINS LECK GAMBLE
                           MALLORY & NATSIS LLP
                       7 One America Plaza
                         600 W. Broadway, 27th Floor
                       8 San Diego, California 92101-0903
                         Phone: (619) 233-1155
                       9 Fax: (619) 233-1158
                         E-Mail: tfates@allenmatkins.com
                      10
                         Attorneys for Attorneys for Receiver
                      11 THOMAS A. SEAMAN
                      12
                                                      UNITED STATES DISTRICT COURT
                      13
                                                    CENTRAL DISTRICT OF CALIFORNIA
                      14
                                                             WESTERN DIVISION
                      15
                                                                     Case No. 2:15-CV-07425-RGK-PLA
                      16 SECURITIES
                         COMMISSION,
                                    AND EXCHANGE
                                                                     RECEIVER’S TWENTY-FIFTH
                      17          Plaintiff,                         INTERIM REPORT AND
                                                                     RECOMMENDATIONS
                      18               v.
                      19 STEVEN CHEN, USFIA, INC.,
                      20 ALLIANCE     FINANCIAL GROUP,
                         INC., AMAUCTION, INC., ABORELL
                      21 MGMTI,    LLC, ABORELL ADVISORS
                         I, LLC, ABORELL REIT II, LLC,
                      22 AHOMERAL       ESTATE, LLC,
                         ALLIANCE NGN, INC., APOLLO
                      23 REIT  I, INC., APOLLO REITT II, LLC,
                         AMKEY, INC., USCHINA
                      24 CONSULTATION      ASSOCIATION, and
                         QUALI RANCH GOLD COURSE,
                      25 LLC,
                      26                       Defendants.

                      27
                      28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            4862-8778-1423.1
                     Case 2:15-cv-07425-RGK-PLA Document 485 Filed 08/26/22 Page 2 of 19 Page ID
                                                     #:12614



                       1               Thomas A. Seaman ("Receiver"), Court-appointed receiver for Defendants
                       2 USFIA, Inc., Alliance Financial Group, Inc., Amauction, Inc., Aborell
                       3 Mgmt I, LLC, Aborell Advisors I, LLC, Aborell REIT II, LLC, Ahome Real
                       4 Estate, LLC, Alliance NGN, Inc., Apollo REIT I, Inc., Apollo REIT II, LLC,
                       5 Amkey, Inc., US China Consultation Association, Quail Ranch Golf Course, LLC,
                       6 and their subsidiaries and affiliates (collectively, "Receivership Entities"), hereby
                       7 provides his Twenty-Fifth Interim Report and Recommendations. This report
                       8 covers the period from January 1, 2022, through June 30, 2022.
                       9                                      I. STATUS REPORT
                      10               This receivership involves a complex and wide-ranging group of enterprises
                      11 and assets funded with the fruits of the fundraising scheme at the heart of the action
                      12 filed by the Securities and Exchange Commission ("Commission"). As previously
                      13 reported, upon his appointment, the Receiver took control of bank accounts
                      14 identified in the TRO and Preliminary Injunction Order ("Appointment Orders") as
                      15 well as additional accounts identified through the Receiver's investigation of
                      16 documents and information found at the various locations where the Receivership
                      17 Entities conducted business. Thereafter, the Receiver took possession of all of the
                      18 real and personal property that could be identified as being owned by the
                      19 Receivership Entities. With regard to the real estate, which included, among other
                      20 things, a hotel, an office building, an apartment complex, vacant land, and various
                      21 single-family residences, the Receiver took control over and prepared each property
                      22 to be sold in accordance with the orders of this Court. The Receiver also took
                      23 control of and has sold certain personal property, including vehicles, guns and
                      24 ammunition, ornamental jewelry, including but not limited to amber and other
                      25 materials of pecuniary value, that were located at the company premises. All of the
                      26 real and personal property assets have been monetized.
                      27               Summary-Level Accounting. Gross receipts for the first half of 2022 were
                      28 $2,041,338.10. Gross receipts from inception of the receivership through June 30,
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            4862-8778-1423.1
                     Case 2:15-cv-07425-RGK-PLA Document 485 Filed 08/26/22 Page 3 of 19 Page ID
                                                     #:12615



                       1 2022, were $79,256,373.09. Disbursements for the first half of 2022 were
                       2 $191,070.78. From the inception of the receivership through June 30, 2022,
                       3 disbursements were $13,674,860.86. The Receiver was holding cash in the amount
                       4 of $65,581,512.23 as of June 30, 2022. An accounting and analysis of receipts and
                       5 disbursements is provided below and is presented in greater detail on Exhibit A.
                       6               Income Taxes. During the reporting period, the Receiver and counsel
                       7 resolved the issues concerning the priority and payment of the future claims of the
                       8 IRS arising out of or related to the Receivership Entities.
                       9               As previously reported, the Receiver filed tax returns for certain of the
                      10 pre-receivership periods as well as the QSF tax returns for the post-receivership tax
                      11 years. The Receiver identified a small tax liability and requested that the IRS
                      12 review the tax returns on an expedited basis. This prompt review was requested
                      13 because the Receivership Entities could have possibly been responsible for
                      14 significant tax liabilities if the IRS disagreed with the tax accountants' and
                      15 Receiver's analysis and/or audited the tax returns.
                      16               The Receiver and counsel spent significant time attempting to engage with the
                      17 IRS to find a means whereby the returns could be expeditiously reviewed, audited or
                      18 otherwise addressed so that the Receiver could distribute the recovered proceeds to
                      19 the investors. After numerous efforts failed to bring any certainty, the Receiver
                      20 filed a motion to amend the plan, subordinate the IRS claims and establish a reserve.
                      21 In response, the IRS contacted counsel, and the parties were able to negotiate an
                      22 agreement regarding the treatment of the IRS' prospective claims. This agreement
                      23 was presented to the Court as a stipulation with the IRS wherein the IRS agreed that
                      24 the claims of investor/victims will have priority over prospective current or future
                      25 tax claims of the IRS.
                      26               Asset Disposition. As set forth above, all of the real and personal property
                      27 assets of the Receivership Entities have been liquidated. The Receiver recovered
                      28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            4862-8778-1423.1                               -2-
                     Case 2:15-cv-07425-RGK-PLA Document 485 Filed 08/26/22 Page 4 of 19 Page ID
                                                     #:12616



                       1 certain funds that had been identified as being held by the State of California
                       2 Unclaimed Property Division in the amount of $1,935,912.92.
                       3                              II. INVESTOR COMMUNICATIONS
                       4               As noted above, the Receiver maintains a website to provide case
                       5 information, regular updates, and answers to frequently asked questions to investors
                       6 and creditors. The Internet address for the webpage is www.usfiareceiver.com. Due
                       7 to the large number of Chinese-American investors, the website also provides a tab
                       8 to view the website in Mandarin. The Receiver assigned a Mandarin speaking
                       9 administrator to assist with investor inquiries and claims administration.
                      10                             III.   RECEIVERSHIP ACCOUNTING
                      11               As noted above, gross receipts for the first half of 2022 were $2,041,338.10,
                      12 and from inception through June 30, 2022, were $79,256,373.09. Disbursements for
                      13 the first half of 2022 were $191,070.78, and from inception through June 30, 2022,
                      14 were $13,674,860.86. The Receiver was holding cash in the amount of
                      15 $65,581,512.23 as of June 30, 2022.
                      16               Attached as Exhibit A are Profit and Loss Statements, Balance Sheet, and
                      17 Detailed General Ledger, which provide an accounting of the receipts and
                      18 disbursements to and from the receivership estate through June 30, 2022. A
                      19 Standardized Fund Accounting Report ("SFAR") is included with Exhibit A.
                      20               The total receipts from January 1, 2022, through June 30, 2022, of
                      21 $2,041,338.10 were comprised of $1,935,912.92 collected from the State of
                      22 California Unclaimed Property Division California; and $105,425.18 of interest
                      23 income earned on excess cash invested in U.S. Treasury securities and bank
                      24 certificates of deposit.
                      25               Total receipts from inception of the receivership through June 30, 2022, are
                      26 $79,256,373, which includes $35,630,208 turned over by banks, $702,558 from
                      27 unused law firm retainers, $2,759,466 in receipts from the hotel and apartment
                      28 building, $76,000 of investor funds received after the Receiver's appointment,
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            4862-8778-1423.1                              -3-
                     Case 2:15-cv-07425-RGK-PLA Document 485 Filed 08/26/22 Page 5 of 19 Page ID
                                                     #:12617



                       1 $41,596,999 from real property sales, $611,336 from personal property sales, $1,637
                       2 in tax refunds, and interest income of $1,341,830 earned on excess cash invested in
                       3 U.S. Treasury securities and bank certificates of deposit.
                       4               As set forth on the Profit and Loss Statement, Balance Sheet, and General
                       5 Ledger, the Receiver disbursed $191,071 during the first two quarters ending June
                       6 30, 2022, comprised of $168,143 in approved professional fees and administrative
                       7 expenses of $20,796, which includes storage fees of $12,495. The Receiver has
                       8 disbursed $13,674,861 from inception of the receivership through June 30, 2022.
                       9 Noteworthy larger expense categories include hotel operating expenses of
                      10 $1,893,782, real property taxes and expenses of $2,828,139, the first mortgage on
                      11 the Alhambra property of $2,231,124, and professional fees of $6,079,398. As
                      12 noted above, the Receiver was holding cash in the amount of $65,581,512 as of
                      13 June 30, 2022.
                      14                                    IV.   RECOMMENDATIONS
                      15               The Receiver and his professionals make the following recommendations for
                      16 the ongoing administration of the receivership estate:
                      17               •       Continue to administer distribution of the net proceeds of the
                      18                       receivership estate to allowed claimants.
                      19               •       Upon conclusion of the distribution process, the Receiver will
                      20                       file a motion to approve final accounting, to conclude the
                      21                       receivership, pay professionals and discharge the Receiver.
                      22 \\\
                      23 \\\
                      24 \\\
                      25 \\\
                      26 \\\
                      27 \\\
                      28 \\\
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            4862-8778-1423.1                               -4-
                     Case 2:15-cv-07425-RGK-PLA Document 485 Filed 08/26/22 Page 6 of 19 Page ID
                                                     #:12618



                       1                                       V. CONCLUSION
                       2               Based upon his investigation and findings, the Receiver recommends and
                       3 requests the Court order him to continue to perform his duties pursuant to the
                       4 Appointment Orders. The Receiver also requests the Court approve this Twenty-
                       5 Fifth Report and the foregoing recommendations.
                       6
                       7 Dated: August 26, 2022                         By:
                       8                                                      THOMAS A. SEAMAN
                                                                              Receiver
                       9
                      10 Dated: August 26, 2022                         ALLEN MATKINS LECK GAMBLE
                                                                         MALLORY & NATSIS LLP
                      11
                      12
                                                                        By:        /s/ David R. Zaro
                      13                                                      DAVID R. ZARO
                                                                              Attorneys for Receiver
                      14                                                      THOMAS SEAMAN
                      15
                      16
                      17
                      18
                      19
                      20
                      21
                      22
                      23
                      24
                      25
                      26
                      27
                      28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            4862-8778-1423.1                            -5-
Case 2:15-cv-07425-RGK-PLA Document 485 Filed 08/26/22 Page 7 of 19 Page ID
                                #:12619




                     EXHIBIT A




                                                                   Exhibit A
                                                                     Page 6
           Case 2:15-cv-07425-RGK-PLA Document 485 Filed 08/26/22 Page 8 of 19 Page ID
                                             #:12620
4:26 PM                             USFIA, Inc in Receivership
08/04/22                                                  Profit & Loss
Accrual Basis                                     January through June 2022

                                                                              Jan - Jun 22
                     Ordinary Income/Expense
                       Income
                          Turnover/ Seizure                                                  1,935,912.92

                        Total Income                                                         1,935,912.92

                        Expense
                          Bank Service Charges                                                      241.59
                          Outside Services
                             Computer & Internet Expenses                            10,072.50
                             Postage and Delivery                                       245.00

                          Total Outside Services                                               10,317.50

                          Professional Fees
                            Outside Accounting Fees                                   9,295.00
                            Receiver's Counsel Expenses
                               Allen Matkins                                       0.00

                                Total Receiver's Counsel Expenses                            0.00

                                Receiver's Counsel Fees
                                  Allen Matkins                               39,263.93

                                Total Receiver's Counsel Fees                        39,263.93

                                Receiver's Fees                                     119,584.35

                          Total Professional Fees                                             168,143.28

                          Rent & Storage Expenses                                              12,495.08

                        Total Expense                                                         191,197.45

                     Net Ordinary Income                                                     1,744,715.47

                     Other Income/Expense
                       Other Income
                          Interest Income                                                     105,425.18

                        Total Other Income                                                    105,425.18

                     Net Other Income                                                         105,425.18

                   Net Income                                                                1,850,140.65




                                                                                                             Exhibit A   Page 1
                                                                                                               Page 7
           Case 2:15-cv-07425-RGK-PLA Document 485 Filed 08/26/22 Page 9 of 19 Page ID
                                             #:12621
4:27 PM                             USFIA, Inc in Receivership
08/04/22                                                Profit & Loss
Accrual Basis                                       As of June 30, 2022

                                                                              Jun 30, 22
                     Ordinary Income/Expense
                       Income
                          Hotel Revenue                                                     1,858,142.41
                          Rental Income                                                       901,323.42
                          Sale of Personal Property                                           611,335.60
                          Sale of Real Property                                            39,365,875.55
                          Tax Refunds                                                           1,636.51
                          Turnover/ Seizure                                                32,166,548.04
                          Unearned law firm retainers                                         702,557.77

                       Total Income                                                        75,607,419.30

                       Expense
                         Automobile Expenses                                                  11,073.24
                         Bank Service Charges                                                  5,172.90
                         Hotel Operating Expenses
                            Cable                                                    24,362.07
                            Computer & Internet Expenses                             29,424.02
                            Food & Beverage                                          26,799.48
                            Insurance Expense
                               Earthquake Insurance                         26,563.00
                               General Liability Insurance                  39,543.93
                               Worker's Compensation                       136,566.89

                             Total Insurance Expense                                202,673.82

                             Landscape & Maintenance                                  7,066.07
                             Licenses, Permits, & Dues                                7,561.62
                             Lodging Tax-San Bernardino                             179,511.84
                             Merchant Account Fees                                   55,004.23
                             Misc Hotel Expenses                                    105,357.13
                             Office Supplies                                          4,308.13
                             Payroll Expenses                                       712,396.87
                             Payroll Fees                                            14,762.10
                             Property Taxes                                         140,057.59
                             Recurring Hotel Fees                                         0.00
                             Repairs & Maintenance                                   55,175.65
                             Reservations                                           144,038.58
                             Telephone Expense                                       18,811.23
                             Utilities                                              166,471.73

                          Total Hotel Operating Expenses                                    1,893,782.16

                          Mileage Reimbursement                                                  9,951.48
                          Outside Services
                             Computer & Internet Expenses                            92,158.12
                             Misc Costs & Services                                    5,916.91
                             Postage and Delivery                                     4,663.94
                             Printing & Reproduction                                  3,481.75

                          Total Outside Services                                             106,220.72

                          Professional Fees
                            Appraiser Fees                                           31,800.00
                            Legal Fees                                               23,481.42
                            Outside Accounting Fees                                  60,687.50
                            Receiver's Counsel Expenses
                               Allen Matkins                                34,269.16
                               Squire Patton Boggs, LLP                      7,650.55

                             Total Receiver's Counsel Expenses                       41,919.71

                             Receiver's Counsel Fees
                               Allen Matkins                              1,283,748.82
                               Squire Patton Boggs, LLP                     115,963.53

                             Total Receiver's Counsel Fees                        1,399,712.35




                                                                                                            Exhibit A   Page 1
                                                                                                              Page 8
        Case 2:15-cv-07425-RGK-PLA Document 485 Filed 08/26/22 Page 10 of 19 Page ID
                                           #:12622
4:27 PM                           USFIA, Inc in Receivership
08/04/22                                              Profit & Loss
Accrual Basis                                         As of June 30, 2022

                                                                                Jun 30, 22
                             Receiver's Fees                                        3,813,088.95
                             Receiver's IT Expenses                                    49,844.55
                             Receiver IT Fees                                         332,043.38
                             Tax Accounting Fees                                      285,868.60
                             Transalation Services                                     40,951.62

                       Total Professional Fees                                                6,079,398.08

                       Real Property Expenses
                         Alhambra Gardens Apartments
                            Insurance Expense                                 14,845.00
                            Landscape & Maintenance                           12,186.00
                            Mortgage Interest Expense                        171,510.68
                            Property Taxes                                   154,343.20
                            Real Estate Sales Expenses                           796.68
                            Repairs and Maintenance                          124,558.16
                            Security Deposit Return                           32,640.00
                            Taxes & Licenses                                     571.00
                            Tenant Credit Checks                                 359.25
                            Utilities                                         72,067.33

                             Total Alhambra Gardens Apartments                        583,877.30

                             All Other Real Estate
                                General Liability Insurance                   151,723.46
                                HOA Dues                                       39,669.64
                                Landscape & Maintenance                       131,100.72
                                Locksmith                                       4,974.52
                                Property Tax                                1,016,952.83
                                Real Estate Sales Expenses                    131,264.58
                                Repairs & Maintenance                         201,987.05
                                Security                                      398,692.67
                                Tenant Refunds                                  6,110.00
                                Utilities                                     161,786.39

                             Total All Other Real Estate                            2,244,261.86

                       Total Real Property Expenses                                           2,828,139.16

                       Rent & Storage Expenses                                                 276,716.05
                       Settlement Payments                                                     104,365.08
                       Taxes                                                                   129,989.48
                       Travel Expense                                                            1,186.85

                     Total Expense                                                           11,445,995.20

                  Net Ordinary Income                                                        64,161,424.10

                  Other Income/Expense
                    Other Income
                       Interest Income                                                        1,341,830.04

                     Total Other Income                                                       1,341,830.04

                  Net Other Income                                                            1,341,830.04

                Net Income                                                                   65,503,254.14




                                                                                                             Exhibit A   Page 2
                                                                                                               Page 9
        Case 2:15-cv-07425-RGK-PLA Document 485 Filed 08/26/22 Page 11 of 19 Page ID
                                           #:12623
4:25 PM                           USFIA, Inc in Receivership
08/04/22                                            Balance Sheet
Accrual Basis                                       As of June 30, 2022

                                                                          Jun 30, 22
                ASSETS
                  Current Assets
                    Checking/Savings
                       USFIA Axos Bank Acct 1000                             63,647,479.67
                       USFIA Operating Acct - WF 0008                         1,934,032.56

                     Total Checking/Savings                                  65,581,512.23

                  Total Current Assets                                       65,581,512.23

                TOTAL ASSETS                                                 65,581,512.23

                LIABILITIES & EQUITY
                   Liabilities
                      Current Liabilities
                         Accounts Payable
                             Accounts Payable                                     2,258.09

                        Total Accounts Payable                                    2,258.09

                        Other Current Liabilities
                          Potential 11th Hour Investor                           76,000.00

                        Total Other Current Liabilities                          76,000.00

                     Total Current Liabilities                                   78,258.09

                  Total Liabilities                                              78,258.09

                  Equity
                    Retained Earnings                                        63,653,113.49
                    Net Income                                                1,850,140.65

                  Total Equity                                               65,503,254.14

                TOTAL LIABILITIES & EQUITY                                   65,581,512.23




                                                                                             Exhibit A   Page 1
                                                                                              Page 10
           Case 2:15-cv-07425-RGK-PLA Document 485 Filed 08/26/22 Page 12 of 19 Page ID
                                            #:12624
4:28 PM                                                              USFIA, Inc in Receivership
08/04/22                                                                    General Ledger
Accrual Basis                                                                 As of June 30, 2022

                Type                Date       Num   Adj           Name                   Memo                 Split         Debit          Credit          Balance

   Hills Garden Hotel - WF 0032                                                                                                                                       0.00
   Total Hills Garden Hotel - WF 0032                                                                                                                                 0.00

   Hills Garden Petty Cash Fund                                                                                                                                       0.00
   Total Hills Garden Petty Cash Fund                                                                                                                                 0.00

   PayPal Account                                                                                                                                                     0.00
   Total PayPal Account                                                                                                                                               0.00

   USFIA Axos Bank Acct 1000                                                                                                                                63,726,638.84
      Deposit             01/31/2022                                                 Deposit             Interest Income       21,653.16                    63,748,292.00
      Transfer            02/04/2022                                                 Funds Transfer      USFIA Operati...                     25,000.00     63,723,292.00
      Deposit             02/28/2022                                                 Deposit             Interest Income       19,557.16                    63,742,849.16
      Deposit             03/31/2022                                                 Deposit             Interest Income       21,658.67                    63,764,507.83
      Transfer            04/14/2022                                                 Funds Transfer      USFIA Operati...                     40,000.00     63,724,507.83
      Check               04/14/2022          Wire         Thomas Seaman Co...       Receiver Fees       Receiver's Fees                     119,584.35     63,604,923.48
      Deposit             04/30/2022                                                 Deposit             Interest Income       21,634.54                    63,626,558.02
      Deposit             05/31/2022                                                 Deposit             Interest Income       20,921.65                    63,647,479.67

   Total USFIA Axos Bank Acct 1000                                                                                            105,425.18     184,584.35     63,647,479.67

   USFIA Operating Acct - WF 0008                                                                                                                                2,596.89
      Check                01/11/2022                                                Service Charge      Bank Service C...                        36.93          2,559.96
      Bill Pmt -Check      02/03/2022         2666         AIC Owner, LLC            17779 Main St...    Accounts Paya...                      2,261.25            298.71
      Transfer             02/04/2022                                                Funds Transfer      USFIA Axos Ba...      25,000.00                        25,298.71
      Bill Pmt -Check      02/09/2022         2667         Cox Business              #001 7601 06...     Accounts Paya...                         11.38         25,287.33
      Bill Pmt -Check      02/09/2022         2668         Orange County Netw...     #9922. 10/7/2...    Accounts Paya...                      1,570.00         23,717.33
      Bill Pmt -Check      02/09/2022         2669         Southern California ...                       Accounts Paya...                        329.85         23,387.48
      Bill Pmt -Check      02/09/2022         2670         Wertz & Company                               Accounts Paya...                      3,270.00         20,117.48
      Check                02/11/2022                                                Service Charge      Bank Service C...                        31.72         20,085.76
      Bill Pmt -Check      03/11/2022         2676         AIC Owner, LLC            17779 Main St...    Accounts Paya...                      2,261.25         17,824.51
      Bill Pmt -Check      03/11/2022         2672         Cox Business              #001 7601 06...     Accounts Paya...                         93.20         17,731.31
      Bill Pmt -Check      03/11/2022         2673         Orange County Netw...     #9947. 11/8/2...    Accounts Paya...                        902.50         16,828.81
      Bill Pmt -Check      03/11/2022         2674         Southern California ...   #7001725716...      Accounts Paya...                        154.64         16,674.17
      Bill Pmt -Check      03/11/2022         2675         Wertz & Company           ID 4173, Refu...    Accounts Paya...                      1,513.00         15,161.17
      Check                03/11/2022                                                Service Charge      Bank Service C...                        47.15         15,114.02
      Check                04/11/2022                                                Service Charge      Bank Service C...                        31.60         15,082.42
      Bill Pmt -Check      04/11/2022         2681         AIC Owner, LLC            17779 Main St...    Accounts Paya...                      2,261.25         12,821.17
      Bill Pmt -Check      04/11/2022         2682         Orange County Netw...     #9977. 1/3/22-...   Accounts Paya...                      1,662.50         11,158.67
      Bill Pmt -Check      04/13/2022         2677         AIC Owner, LLC            17779 Main St...    Accounts Paya...                      2,261.25          8,897.42
      Bill Pmt -Check      04/13/2022         2678         Cox Business              #001 7601 06...     Accounts Paya...                         93.20          8,804.22
      Bill Pmt -Check      04/13/2022         2679         Orange County Netw...     #9958. 12/1/2...    Accounts Paya...                      1,947.50          6,856.72
      Bill Pmt -Check      04/13/2022         2680         Southern California ...   #7001725716...      Accounts Paya...                        170.34          6,686.38
      Transfer             04/14/2022                                                Funds Transfer      USFIA Axos Ba...      40,000.00                        46,686.38
      Check                04/19/2022         Wire         Allen Matkins                                 -SPLIT-                              39,263.93          7,422.45
      Check                05/11/2022                                                Service Charge      Bank Service C...                        60.92          7,361.53
      Bill Pmt -Check      05/20/2022         2683         Cox Business                                  Accounts Paya...                        255.18          7,106.35
      Bill Pmt -Check      05/20/2022         2684         Pacific Mail              #278. 6 month...    Accounts Paya...                        245.00          6,861.35
      Bill Pmt -Check      05/20/2022         2685         Southern California ...   #7001725716...      Accounts Paya...                         76.92          6,784.43
      Bill Pmt -Check      05/20/2022         2686         Wertz & Company           ID 4173, Prep...    Accounts Paya...                      3,949.00          2,835.43
      Deposit              06/10/2022                                                Deposit             Turnover/ Seiz...   1,935,912.92                    1,938,748.35
      Check                06/13/2022         ACH          Wells Fargo Bank                              Bank Service C...                        32.04      1,938,716.31
      Bill Pmt -Check      06/16/2022         2687         AIC Owner, LLC            17779 Main St...    Accounts Paya...                      2,261.25      1,936,455.06
      Bill Pmt -Check      06/16/2022         2688         Orange County Netw...                         Accounts Paya...                      2,422.50      1,934,032.56

   Total USFIA Operating Acct - WF 0008                                                                                      2,000,912.92     69,477.25      1,934,032.56

   WF Treasury Acct                                                                                                                                                   1.23
      Check                    01/01/2022                  Wells Fargo Bank                              Bank Service C...                           1.23             0.00

   Total WF Treasury Acct                                                                                                            0.00            1.23             0.00

   Accounts Receivable                                                                                                                                                0.00
      Alhambra Gardens AR                                                                                                                                             0.00
      Total Alhambra Gardens AR                                                                                                                                       0.00

      Hills Garden AR-Advance Deposit                                                                                                                                 0.00
      Total Hills Garden AR-Advance Deposit                                                                                                                           0.00

      Hills Hotel AR-City Ledger                                                                                                                                      0.00
      Total Hills Hotel AR-City Ledger                                                                                                                                0.00

      Hills Hotel AR-Guest Ledger                                                                                                                                     0.00
      Total Hills Hotel AR-Guest Ledger                                                                                                                               0.00

      Accounts Receivable - Other                                                                                                                                     0.00
      Total Accounts Receivable - Other                                                                                                                               0.00

   Total Accounts Receivable                                                                                                                                          0.00

   Prepaid Insurance                                                                                                                                                  0.00
   Total Prepaid Insurance                                                                                                                                            0.00

   Receivable from Hills Garden                                                                                                                                       0.00
   Total Receivable from Hills Garden                                                                                                                                 0.00

   Undeposited Funds                                                                                                                                                  0.00
   Total Undeposited Funds                                                                                                                                            0.00

   Accumulated Depreciation                                                                                                                                           0.00
   Total Accumulated Depreciation                                                                                                                                     0.00

   Alhambra Gardens Apt Complex                                                                                                                                       0.00
   Total Alhambra Gardens Apt Complex                                                                                                                                 0.00



                                                                                                                                                 Exhibit A        Page 1
                                                                                                                                                  Page 11
            Case 2:15-cv-07425-RGK-PLA Document 485 Filed 08/26/22 Page 13 of 19 Page ID
                                             #:12625
4:28 PM                                                                      USFIA, Inc in Receivership
08/04/22                                                                           General Ledger
Accrual Basis                                                                       As of June 30, 2022

                Type                   Date       Num        Adj           Name                   Memo                 Split         Debit         Credit        Balance

   Furniture and Equipment                                                                                                                                                 0.00
   Total Furniture and Equipment                                                                                                                                           0.00

   Security Deposits                                                                                                                                                       0.00
   Total Security Deposits                                                                                                                                                 0.00

   Utility Deposits                                                                                                                                                        0.00
   Total Utility Deposits                                                                                                                                                  0.00

   Accounts Payable                                                                                                                                                     -123.47
      Bill                         01/05/2022   9922               Orange County Netw...     #9922. 10/7/2...    Computer & Int...                    1,570.00        -1,693.47
      Bill                         01/11/2022   70017...           Southern California ...   #7001725716...      Rent & Storage...                      206.38        -1,899.85
      Bill                         01/12/2022    001 7...          Cox Business              #001 7601 06...     Rent & Storage...                       11.38        -1,911.23
      Bill                         01/18/2022   9947               Orange County Netw...     #9947. 11/8/2...    Computer & Int...                      902.50        -2,813.73
      Bill                         01/23/2022   85611              Wertz & Company           ID 4173, Form...    Outside Accou...                     1,063.00        -3,876.73
      Bill                         01/27/2022   84625              Wertz & Company           ID 4173, Prep ...   Outside Accou...                     2,207.00        -6,083.73
      Bill                         02/01/2022   Feb 2...           AIC Owner, LLC            17779 Main St...    Rent & Storage...                    2,261.25        -8,344.98
      Bill Pmt -Check              02/03/2022   2666               AIC Owner, LLC            17779 Main St...    USFIA Operati...       2,261.25                      -6,083.73
      Bill Pmt -Check              02/09/2022   2667               Cox Business              #001 7601 06...     USFIA Operati...          11.38                      -6,072.35
      Bill Pmt -Check              02/09/2022   2668               Orange County Netw...     #9922. 10/7/2...    USFIA Operati...       1,570.00                      -4,502.35
      Bill Pmt -Check              02/09/2022   2669               Southern California ...                       USFIA Operati...         329.85                      -4,172.50
      Bill Pmt -Check              02/09/2022   2670               Wertz & Company                               USFIA Operati...       3,270.00                        -902.50
      Bill                         02/09/2022   70017...           Southern California ...   #7001725716...      Rent & Storage...                      154.64        -1,057.14
      Bill                         02/11/2022    001 7...          Cox Business              #001 7601 06...     Rent & Storage...                       93.20        -1,150.34
      Bill                         02/22/2022   85880              Wertz & Company           ID 4173, Refu...    Outside Accou...                     1,513.00        -2,663.34
      Bill                         02/24/2022   March ...          AIC Owner, LLC            17779 Main St...    Rent & Storage...                    2,261.25        -4,924.59
      Bill                         03/01/2022   9958               Orange County Netw...     #9958. 12/1/2...    Computer & Int...                    1,947.50        -6,872.09
      Bill Pmt -Check              03/11/2022   2676               AIC Owner, LLC            17779 Main St...    USFIA Operati...       2,261.25                      -4,610.84
      Bill Pmt -Check              03/11/2022   2672               Cox Business              #001 7601 06...     USFIA Operati...          93.20                      -4,517.64
      Bill Pmt -Check              03/11/2022   2673               Orange County Netw...     #9947. 11/8/2...    USFIA Operati...         902.50                      -3,615.14
      Bill Pmt -Check              03/11/2022   2674               Southern California ...   #7001725716...      USFIA Operati...         154.64                      -3,460.50
      Bill Pmt -Check              03/11/2022   2675               Wertz & Company           ID 4173, Refu...    USFIA Operati...       1,513.00                      -1,947.50
      Bill                         03/11/2022   70017...           Southern California ...   #7001725716...      Rent & Storage...                      170.34        -2,117.84
      Bill                         03/12/2022    001 7...          Cox Business              #001 7601 06...     Rent & Storage...                       93.20        -2,211.04
      Bill                         04/01/2022   April 2...         AIC Owner, LLC            17779 Main St...    Rent & Storage...                    2,261.25        -4,472.29
      Bill                         04/03/2022   9977               Orange County Netw...     #9977. 1/3/22-...   Computer & Int...                    1,662.50        -6,134.79
      Bill Pmt -Check              04/11/2022   2681               AIC Owner, LLC            17779 Main St...    USFIA Operati...       2,261.25                      -3,873.54
      Bill Pmt -Check              04/11/2022   2682               Orange County Netw...     #9977. 1/3/22-...   USFIA Operati...       1,662.50                      -2,211.04
      Bill                         04/12/2022    001 7...          Cox Business              #001 7601 06...     Rent & Storage...                      127.59        -2,338.63
      Bill Pmt -Check              04/13/2022   2677               AIC Owner, LLC            17779 Main St...    USFIA Operati...       2,261.25                         -77.38
      Bill Pmt -Check              04/13/2022   2678               Cox Business              #001 7601 06...     USFIA Operati...          93.20                          15.82
      Bill Pmt -Check              04/13/2022   2679               Orange County Netw...     #9958. 12/1/2...    USFIA Operati...       1,947.50                       1,963.32
      Bill Pmt -Check              04/13/2022   2680               Southern California ...   #7001725716...      USFIA Operati...         170.34                       2,133.66
      Bill                         04/15/2022   278                Pacific Mail              #278. 6 month...    Postage and D...                       245.00         1,888.66
      Bill                         04/21/2022   9991               Orange County Netw...     #9991. 2/1/22-...   Computer & Int...                      902.50           986.16
      Bill                         05/01/2022   May 2...           AIC Owner, LLC            17779 Main St...    Rent & Storage...                    2,261.25        -1,275.09
      Bill                         05/12/2022    001 7...          Cox Business              #001 7601 06...     Rent & Storage...                      127.59        -1,402.68
      Bill                         05/13/2022   70017...           Southern California ...   #7001725716...      Rent & Storage...                       76.92        -1,479.60
      Bill                         05/16/2022   10024              Orange County Netw...     #10024. 3/3/2...    Computer & Int...                    1,520.00        -2,999.60
      Bill                         05/18/2022   87586              Wertz & Company           ID 4173, Prep...    Outside Accou...                     3,949.00        -6,948.60
      Bill Pmt -Check              05/20/2022   2683               Cox Business                                  USFIA Operati...         255.18                      -6,693.42
      Bill Pmt -Check              05/20/2022   2684               Pacific Mail              #278. 6 month...    USFIA Operati...         245.00                      -6,448.42
      Bill Pmt -Check              05/20/2022   2685               Southern California ...   #7001725716...      USFIA Operati...          76.92                      -6,371.50
      Bill Pmt -Check              05/20/2022   2686               Wertz & Company           ID 4173, Prep...    USFIA Operati...       3,949.00                      -2,422.50
      Bill                         05/31/2022   10038              Orange County Netw...     #10038. 4/1/2...    Computer & Int...                    1,567.50        -3,990.00
      Bill                         06/01/2022   June 2...          AIC Owner, LLC            17779 Main St...    Rent & Storage...                    2,261.25        -6,251.25
      Bill                         06/11/2022    001 7...          Cox Business              #001 7601 06...     Rent & Storage...                      127.59        -6,378.84
      Bill Pmt -Check              06/16/2022   2687               AIC Owner, LLC            17779 Main St...    USFIA Operati...       2,261.25                      -4,117.59
      Bill Pmt -Check              06/16/2022   2688               Orange County Netw...                         USFIA Operati...       2,422.50                      -1,695.09
      Bill                         06/25/2022   87931              Wertz & Company           ID 4173, Prep...    Outside Accou...                       563.00        -2,258.09

   Total Accounts Payable                                                                                                              29,972.96     32,107.58        -2,258.09

   Funds Turnover to be Returned                                                                                                                                           0.00
   Total Funds Turnover to be Returned                                                                                                                                     0.00

   Other Current Liability                                                                                                                                                 0.00
   Total Other Current Liability                                                                                                                                           0.00

   Payable to USFIA                                                                                                                                                        0.00
   Total Payable to USFIA                                                                                                                                                  0.00

   Payroll Liabilities                                                                                                                                                     0.00
   Total Payroll Liabilities                                                                                                                                               0.00

   Potential 11th Hour Investor                                                                                                                                      -76,000.00
   Total Potential 11th Hour Investor                                                                                                                                -76,000.00

   RE Sales Earnest Money Deposits                                                                                                                                         0.00
   Total RE Sales Earnest Money Deposits                                                                                                                                   0.00

   Rental Security Deposits                                                                                                                                                0.00
   Total Rental Security Deposits                                                                                                                                          0.00

   Mortgage Loan-Alhambra Gardens                                                                                                                                          0.00
   Total Mortgage Loan-Alhambra Gardens                                                                                                                                    0.00

   Opening Balance Equity                                                                                                                                                  0.00
   Total Opening Balance Equity                                                                                                                                            0.00

   Retained Earnings                                                                                                                                             -63,653,113.49
   Total Retained Earnings                                                                                                                                       -63,653,113.49

   Accounting Services Income                                                                                                                                              0.00
   Total Accounting Services Income                                                                                                                                        0.00

                                                                                                                                                        Exhibit A       Page 2
                                                                                                                                                         Page 12
            Case 2:15-cv-07425-RGK-PLA Document 485 Filed 08/26/22 Page 14 of 19 Page ID
                                             #:12626
4:28 PM                                                                  USFIA, Inc in Receivership
08/04/22                                                                       General Ledger
Accrual Basis                                                                      As of June 30, 2022

                Type                  Date       Num      Adj           Name                Memo                 Split        Debit            Credit          Balance

   Arcadia Office Rental Revenue                                                                                                                                         0.00
   Total Arcadia Office Rental Revenue                                                                                                                                   0.00

   Consulting Income                                                                                                                                                     0.00
   Total Consulting Income                                                                                                                                               0.00

   Hotel Revenue                                                                                                                                                         0.00
   Total Hotel Revenue                                                                                                                                                   0.00

   Rental Income                                                                                                                                                         0.00
   Total Rental Income                                                                                                                                                   0.00

   Sale of Assets                                                                                                                                                        0.00
   Total Sale of Assets                                                                                                                                                  0.00

   Sale of Personal Property                                                                                                                                             0.00
   Total Sale of Personal Property                                                                                                                                       0.00

   Sale of Real Property                                                                                                                                                 0.00
   Total Sale of Real Property                                                                                                                                           0.00

   Tax Preparation Services Income                                                                                                                                       0.00
   Total Tax Preparation Services Income                                                                                                                                 0.00

   Tax Refunds                                                                                                                                                           0.00
   Total Tax Refunds                                                                                                                                                     0.00

   Turnover/ Seizure                                                                                                                                                    0.00
      Deposit                    06/10/2022    61-63...         State of CA             Funds from un...   USFIA Operati...                    1,935,912.92    -1,935,912.92

   Total Turnover/ Seizure                                                                                                              0.00   1,935,912.92    -1,935,912.92

   Unearned law firm retainers                                                                                                                                           0.00
   Total Unearned law firm retainers                                                                                                                                     0.00

   Automobile Expense                                                                                                                                                    0.00
   Total Automobile Expense                                                                                                                                              0.00

   Automobile Expenses                                                                                                                                                   0.00
   Total Automobile Expenses                                                                                                                                             0.00

   Bank Service Charges                                                                                                                                                0.00
      Check                      01/01/2022                     Wells Fargo Bank                           WF Treasury A...             1.23                           1.23
      Check                      01/11/2022                                             Service Charge     USFIA Operati...            36.93                          38.16
      Check                      02/11/2022                                             Service Charge     USFIA Operati...            31.72                          69.88
      Check                      03/11/2022                                             Service Charge     USFIA Operati...            47.15                         117.03
      Check                      04/11/2022                                             Service Charge     USFIA Operati...            31.60                         148.63
      Check                      05/11/2022                                             Service Charge     USFIA Operati...            60.92                         209.55
      Check                      06/13/2022    ACH              Wells Fargo Bank                           USFIA Operati...            32.04                         241.59

   Total Bank Service Charges                                                                                                         241.59            0.00         241.59

   Computer and Internet Expenses                                                                                                                                        0.00
   Total Computer and Internet Expenses                                                                                                                                  0.00

   Depreciation Expense                                                                                                                                                  0.00
   Total Depreciation Expense                                                                                                                                            0.00

   Distributions to Claimants                                                                                                                                            0.00
   Total Distributions to Claimants                                                                                                                                      0.00

   Hotel Operating Expenses                                                                                                                                              0.00
      Advertising and Promotion                                                                                                                                          0.00
      Total Advertising and Promotion                                                                                                                                    0.00

      Cable                                                                                                                                                              0.00
      Total Cable                                                                                                                                                        0.00

      Computer & Internet Expenses                                                                                                                                       0.00
      Total Computer & Internet Expenses                                                                                                                                 0.00

      Dues and Subscriptions                                                                                                                                             0.00
      Total Dues and Subscriptions                                                                                                                                       0.00

      Food & Beverage                                                                                                                                                    0.00
      Total Food & Beverage                                                                                                                                              0.00

      Insurance Expense                                                                                                                                                  0.00
         Earthquake Insurance                                                                                                                                            0.00
         Total Earthquake Insurance                                                                                                                                      0.00

           General Liability Insurance                                                                                                                                   0.00
           Total General Liability Insurance                                                                                                                             0.00

           Worker's Compensation                                                                                                                                         0.00
           Total Worker's Compensation                                                                                                                                   0.00

           Insurance Expense - Other                                                                                                                                     0.00
           Total Insurance Expense - Other                                                                                                                               0.00

      Total Insurance Expense                                                                                                                                            0.00

      Landscape & Maintenance                                                                                                                                            0.00
      Total Landscape & Maintenance                                                                                                                                      0.00

      Licenses, Permits, & Dues                                                                                                                                          0.00
      Total Licenses, Permits, & Dues                                                                                                                                    0.00


                                                                                                                                                    Exhibit A        Page 3
                                                                                                                                                     Page 13
           Case 2:15-cv-07425-RGK-PLA Document 485 Filed 08/26/22 Page 15 of 19 Page ID
                                            #:12627
4:28 PM                                                                USFIA, Inc in Receivership
08/04/22                                                                    General Ledger
Accrual Basis                                                                As of June 30, 2022

                Type                 Date       Num    Adj           Name                 Memo                 Split        Debit            Credit          Balance

      Lodging Tax-San Bernardino                                                                                                                                       0.00
      Total Lodging Tax-San Bernardino                                                                                                                                 0.00

      Merchant Account Fees                                                                                                                                            0.00
      Total Merchant Account Fees                                                                                                                                      0.00

      Misc Hotel Expenses                                                                                                                                              0.00
      Total Misc Hotel Expenses                                                                                                                                        0.00

      Office Supplies                                                                                                                                                  0.00
      Total Office Supplies                                                                                                                                            0.00

      Payroll Expenses                                                                                                                                                 0.00
      Total Payroll Expenses                                                                                                                                           0.00

      Payroll Fees                                                                                                                                                     0.00
      Total Payroll Fees                                                                                                                                               0.00

      Property Taxes                                                                                                                                                   0.00
      Total Property Taxes                                                                                                                                             0.00

      Recurring Hotel Fees                                                                                                                                             0.00
      Total Recurring Hotel Fees                                                                                                                                       0.00

      Repairs & Maintenance                                                                                                                                            0.00
      Total Repairs & Maintenance                                                                                                                                      0.00

      Reservations                                                                                                                                                     0.00
      Total Reservations                                                                                                                                               0.00

      Telephone Expense                                                                                                                                                0.00
      Total Telephone Expense                                                                                                                                          0.00

      Utilities                                                                                                                                                        0.00
      Total Utilities                                                                                                                                                  0.00

      Hotel Operating Expenses - Other                                                                                                                                 0.00
      Total Hotel Operating Expenses - Other                                                                                                                           0.00

   Total Hotel Operating Expenses                                                                                                                                      0.00

   Insurance Expense                                                                                                                                                   0.00
      Life and Disability Insurance                                                                                                                                    0.00
      Total Life and Disability Insurance                                                                                                                              0.00

      Professional Liability                                                                                                                                           0.00
      Total Professional Liability                                                                                                                                     0.00

      Insurance Expense - Other                                                                                                                                        0.00
      Total Insurance Expense - Other                                                                                                                                  0.00

   Total Insurance Expense                                                                                                                                             0.00

   Landscape & Maintenance                                                                                                                                             0.00
   Total Landscape & Maintenance                                                                                                                                       0.00

   Mileage Reimbursement                                                                                                                                               0.00
   Total Mileage Reimbursement                                                                                                                                         0.00

   Outside Services                                                                                                                                                  0.00
      Computer & Internet Expenses                                                                                                                                   0.00
      Bill                  01/05/2022         9922          Orange County Netw...   #9922. 10/7/2...    Accounts Paya...      1,570.00                          1,570.00
      Bill                  01/18/2022         9947          Orange County Netw...   #9947. 11/8/2...    Accounts Paya...        902.50                          2,472.50
      Bill                  03/01/2022         9958          Orange County Netw...   #9958. 12/1/2...    Accounts Paya...      1,947.50                          4,420.00
      Bill                  04/03/2022         9977          Orange County Netw...   #9977. 1/3/22-...   Accounts Paya...      1,662.50                          6,082.50
      Bill                  04/21/2022         9991          Orange County Netw...   #9991. 2/1/22-...   Accounts Paya...        902.50                          6,985.00
      Bill                  05/16/2022         10024         Orange County Netw...   #10024. 3/3/2...    Accounts Paya...      1,520.00                          8,505.00
      Bill                  05/31/2022         10038         Orange County Netw...   #10038. 4/1/2...    Accounts Paya...      1,567.50                         10,072.50

      Total Computer & Internet Expenses                                                                                      10,072.50               0.00      10,072.50

      Misc Costs & Services                                                                                                                                            0.00
      Total Misc Costs & Services                                                                                                                                      0.00

      Postage and Delivery                                                                                                                                           0.00
      Bill                 04/15/2022          278           Pacific Mail            #278. 6 month...    Accounts Paya...           245.00                         245.00

      Total Postage and Delivery                                                                                                    245.00            0.00         245.00

      Printing & Reproduction                                                                                                                                          0.00
      Total Printing & Reproduction                                                                                                                                    0.00

      Outside Services - Other                                                                                                                                         0.00
      Total Outside Services - Other                                                                                                                                   0.00

   Total Outside Services                                                                                                     10,317.50               0.00      10,317.50

   Professional Fees                                                                                                                                                   0.00
      Appraiser Fees                                                                                                                                                   0.00
      Total Appraiser Fees                                                                                                                                             0.00

      Legal Fees                                                                                                                                                       0.00
      Total Legal Fees                                                                                                                                                 0.00

      Notary                                                                                                                                                           0.00
      Total Notary                                                                                                                                                     0.00



                                                                                                                                                  Exhibit A        Page 4
                                                                                                                                                   Page 14
            Case 2:15-cv-07425-RGK-PLA Document 485 Filed 08/26/22 Page 16 of 19 Page ID
                                             #:12628
4:28 PM                                                                    USFIA, Inc in Receivership
08/04/22                                                                         General Ledger
Accrual Basis                                                                    As of June 30, 2022

                Type                  Date          Num    Adj           Name               Memo                 Split        Debit          Credit          Balance

      Outside Accounting Fees                                                                                                                                        0.00
      Bill                 01/23/2022              85611         Wertz & Company       ID 4173, Form...    Accounts Paya...      1,063.00                        1,063.00
      Bill                 01/27/2022              84625         Wertz & Company       ID 4173, Prep ...   Accounts Paya...      2,207.00                        3,270.00
      Bill                 02/22/2022              85880         Wertz & Company       ID 4173, Refu...    Accounts Paya...      1,513.00                        4,783.00
      Bill                 05/18/2022              87586         Wertz & Company       ID 4173, Prep...    Accounts Paya...      3,949.00                        8,732.00
      Bill                 06/25/2022              87931         Wertz & Company       ID 4173, Prep...    Accounts Paya...        563.00                        9,295.00

      Total Outside Accounting Fees                                                                                              9,295.00             0.00       9,295.00

      Receiver's Counsel Expenses                                                                                                                                      0.00
        Allen Matkins                                                                                                                                                  0.00
      Check                04/19/2022              Wire          Allen Matkins                             USFIA Operati...           0.00                             0.00

           Total Allen Matkins                                                                                                        0.00            0.00             0.00

           Squire Patton Boggs, LLP                                                                                                                                    0.00
           Total Squire Patton Boggs, LLP                                                                                                                              0.00

           Receiver's Counsel Expenses - Other                                                                                                                         0.00
           Total Receiver's Counsel Expenses - Other                                                                                                                   0.00

      Total Receiver's Counsel Expenses                                                                                               0.00            0.00             0.00

      Receiver's Counsel Fees                                                                                                                                        0.00
        Allen Matkins                                                                                                                                                0.00
      Check                 04/19/2022             Wire          Allen Matkins                             USFIA Operati...     39,263.93                       39,263.93

           Total Allen Matkins                                                                                                  39,263.93             0.00      39,263.93

           Squire Patton Boggs, LLP                                                                                                                                    0.00
           Total Squire Patton Boggs, LLP                                                                                                                              0.00

           Receiver's Counsel Fees - Other                                                                                                                             0.00
           Total Receiver's Counsel Fees - Other                                                                                                                       0.00

      Total Receiver's Counsel Fees                                                                                             39,263.93             0.00      39,263.93

      Receiver's Fees                                                                                                                                                0.00
      Check                       04/14/2022       Wire          Thomas Seaman Co...   Receiver Fees       USFIA Axos Ba...    119,584.35                      119,584.35

      Total Receiver's Fees                                                                                                    119,584.35             0.00     119,584.35

      Receiver's IT Expenses                                                                                                                                           0.00
      Total Receiver's IT Expenses                                                                                                                                     0.00

      Receiver IT Fees                                                                                                                                                 0.00
      Total Receiver IT Fees                                                                                                                                           0.00

      Tax Accounting Fees                                                                                                                                              0.00
      Total Tax Accounting Fees                                                                                                                                        0.00

      Transalation Services                                                                                                                                            0.00
      Total Transalation Services                                                                                                                                      0.00

      Professional Fees - Other                                                                                                                                        0.00
      Total Professional Fees - Other                                                                                                                                  0.00

   Total Professional Fees                                                                                                     168,143.28             0.00     168,143.28

   Real Property Expenses                                                                                                                                              0.00
      Alhambra Gardens Apartments                                                                                                                                      0.00
         Insurance Expense                                                                                                                                             0.00
         Total Insurance Expense                                                                                                                                       0.00

           Landscape & Maintenance                                                                                                                                     0.00
           Total Landscape & Maintenance                                                                                                                               0.00

           Mortgage Interest Expense                                                                                                                                   0.00
           Total Mortgage Interest Expense                                                                                                                             0.00

           Property Taxes                                                                                                                                              0.00
           Total Property Taxes                                                                                                                                        0.00

           Real Estate Sales Expenses                                                                                                                                  0.00
           Total Real Estate Sales Expenses                                                                                                                            0.00

           Repairs and Maintenance                                                                                                                                     0.00
           Total Repairs and Maintenance                                                                                                                               0.00

           Security Deposit Return                                                                                                                                     0.00
           Total Security Deposit Return                                                                                                                               0.00

           Taxes & Licenses                                                                                                                                            0.00
           Total Taxes & Licenses                                                                                                                                      0.00

           Tenant Credit Checks                                                                                                                                        0.00
           Total Tenant Credit Checks                                                                                                                                  0.00

           Utilities                                                                                                                                                   0.00
           Total Utilities                                                                                                                                             0.00

           Alhambra Gardens Apartments - Other                                                                                                                         0.00
           Total Alhambra Gardens Apartments - Other                                                                                                                   0.00

      Total Alhambra Gardens Apartments                                                                                                                                0.00




                                                                                                                                                  Exhibit A        Page 5
                                                                                                                                                   Page 15
            Case 2:15-cv-07425-RGK-PLA Document 485 Filed 08/26/22 Page 17 of 19 Page ID
                                             #:12629
4:28 PM                                                                       USFIA, Inc in Receivership
08/04/22                                                                             General Ledger
Accrual Basis                                                                         As of June 30, 2022

                 Type                Date          Num        Adj           Name                   Memo                 Split        Debit          Credit          Balance

      All Other Real Estate                                                                                                                                                   0.00
          General Liability Insurance                                                                                                                                         0.00
          Total General Liability Insurance                                                                                                                                   0.00

           HOA Dues                                                                                                                                                           0.00
           Total HOA Dues                                                                                                                                                     0.00

           Landscape & Maintenance                                                                                                                                            0.00
           Total Landscape & Maintenance                                                                                                                                      0.00

           Locksmith                                                                                                                                                          0.00
           Total Locksmith                                                                                                                                                    0.00

           Property Tax                                                                                                                                                       0.00
           Total Property Tax                                                                                                                                                 0.00

           Real Estate Sales Expenses                                                                                                                                         0.00
           Total Real Estate Sales Expenses                                                                                                                                   0.00

           Repairs & Maintenance                                                                                                                                              0.00
           Total Repairs & Maintenance                                                                                                                                        0.00

           Security                                                                                                                                                           0.00
           Total Security                                                                                                                                                     0.00

           Tenant Refunds                                                                                                                                                     0.00
           Total Tenant Refunds                                                                                                                                               0.00

           Utilities                                                                                                                                                          0.00
           Total Utilities                                                                                                                                                    0.00

           All Other Real Estate - Other                                                                                                                                      0.00
           Total All Other Real Estate - Other                                                                                                                                0.00

      Total All Other Real Estate                                                                                                                                             0.00

      Real Property Expenses - Other                                                                                                                                          0.00
      Total Real Property Expenses - Other                                                                                                                                    0.00

   Total Real Property Expenses                                                                                                                                               0.00

   Rent & Storage Expenses                                                                                                                                                  0.00
      Bill                      01/11/2022       70017...           Southern California ...   #7001725716...      Accounts Paya...         206.38                         206.38
      Bill                      01/12/2022        001 7...          Cox Business              #001 7601 06...     Accounts Paya...          11.38                         217.76
      Bill                      02/01/2022       Feb 2...           AIC Owner, LLC            17779 Main St...    Accounts Paya...       2,261.25                       2,479.01
      Bill                      02/09/2022       70017...           Southern California ...   #7001725716...      Accounts Paya...         154.64                       2,633.65
      Bill                      02/11/2022        001 7...          Cox Business              #001 7601 06...     Accounts Paya...          93.20                       2,726.85
      Bill                      02/24/2022       March ...          AIC Owner, LLC            17779 Main St...    Accounts Paya...       2,261.25                       4,988.10
      Bill                      03/11/2022       70017...           Southern California ...   #7001725716...      Accounts Paya...         170.34                       5,158.44
      Bill                      03/12/2022        001 7...          Cox Business              #001 7601 06...     Accounts Paya...          93.20                       5,251.64
      Bill                      04/01/2022       April 2...         AIC Owner, LLC            17779 Main St...    Accounts Paya...       2,261.25                       7,512.89
      Bill                      04/12/2022        001 7...          Cox Business              #001 7601 06...     Accounts Paya...         127.59                       7,640.48
      Bill                      05/01/2022       May 2...           AIC Owner, LLC            17779 Main St...    Accounts Paya...       2,261.25                       9,901.73
      Bill                      05/12/2022        001 7...          Cox Business              #001 7601 06...     Accounts Paya...         127.59                      10,029.32
      Bill                      05/13/2022       70017...           Southern California ...   #7001725716...      Accounts Paya...          76.92                      10,106.24
      Bill                      06/01/2022       June 2...          AIC Owner, LLC            17779 Main St...    Accounts Paya...       2,261.25                      12,367.49
      Bill                      06/11/2022        001 7...          Cox Business              #001 7601 06...     Accounts Paya...         127.59                      12,495.08

   Total Rent & Storage Expenses                                                                                                       12,495.08             0.00      12,495.08

   Settlement Payments                                                                                                                                                        0.00
   Total Settlement Payments                                                                                                                                                  0.00

   Taxes                                                                                                                                                                      0.00
   Total Taxes                                                                                                                                                                0.00

   Travel Expense                                                                                                                                                             0.00
   Total Travel Expense                                                                                                                                                       0.00

   Finance Charge Income                                                                                                                                                      0.00
   Total Finance Charge Income                                                                                                                                                0.00

   Interest Income                                                                                                                                                           0.00
       Deposit                  01/31/2022                                                    Jan 2022 Inter...   USFIA Axos Ba...                    21,653.16        -21,653.16
       Deposit                  02/28/2022                                                    Feb Interest A...   USFIA Axos Ba...                    19,557.16        -41,210.32
       Deposit                  03/31/2022                                                    March Interest...   USFIA Axos Ba...                    21,658.67        -62,868.99
       Deposit                  04/30/2022                                                    Interest Incom...   USFIA Axos Ba...                    21,634.54        -84,503.53
       Deposit                  05/31/2022                                                    Interest Incom...   USFIA Axos Ba...                    20,921.65       -105,425.18

   Total Interest Income                                                                                                                     0.00    105,425.18       -105,425.18

   No accnt                                                                                                                                                                   0.00
   Total no accnt                                                                                                                                                             0.00

TOTAL                                                                                                                                2,327,508.51   2,327,508.51              0.00




                                                                                                                                                         Exhibit A        Page 6
                                                                                                                                                          Page 16
Case 2:15-cv-07425-RGK-PLA Document 485 Filed 08/26/22 Page 18 of 19 Page ID
                                 #:12630
                             STANDARDIZED FUND ACCOUNTING REPORT for Steve Chen, USFIA ‐ Cash Basis
                                           Receivership; Case No. 15‐07425‐RGK‐GKSX
                                           Reporting Period 01/01/2022 to 06/30/2022
       FUND ACCOUNTING (See instructions):
                                                                                  Detail         Subtotal   Grand Total
       Line 1         Beginning Balance (12/31/2021):                           63,729,113.49                  63,729,113
                      Increases in Fund Balance:
       Line 2         Business Income                                                                                ‐
       Line 3         Cash and Securities                                           1,935,913                  1,935,913
       Line 4         Interest/Dividend Income                                        105,425                    105,425
       Line 5         Business Asset Liquidation                                                                     ‐
       Line 6         Personal Asset Liquidation                                                                     ‐
       Line 7         Third‐Party Litigation Income                                                                  ‐
       Line 8         Miscellaneous ‐ Other                                                                          ‐
                      Total Funds Available (Lines 1 ‐ 8):                        65,770,452                  65,770,452
                      Decreases in Fund Balance:
       Line 9         Disbursements to Investors                                          ‐                           ‐
       Line 10        Disbursements to Receivership Operations
           Line 10a   Disbursement to Receiver or Other Professionals               (168,143)                    (168,143)
           Line 10b   Business Asset Expenses                                                                         ‐
           Line 10c   Personal Asset Expenses
           Line 10d   Investment Expenses                                                 ‐                           ‐
           Line 10e   Third‐Party Litigation Expenses                                                                 ‐
                        1. Attorney Fees                                                                              ‐
                        2. Litigation Expenses                                            ‐                           ‐
                        Total Third‐Party Litigation Expenses                             ‐                           ‐
          Line 10f Tax Administrator Fees and Bonds                                       ‐                           ‐
          Line 10g Federal and State Tax Payments
                   Total Disbursements for Receivership Operations                                            (168,143.28)
       Line 11      Disbursements for Distribution Expenses Paid by the Fund:
           Line 11a Distribution Plan Development Expenses:
                    1. Fees:
                      Fund Administrator…………………………………….                                   ‐                           ‐
                      Independent Distribution Consultant (IDC)..                         ‐                           ‐
                      Distribution Agent………………………………………                                   ‐                           ‐
                      Consultants………………………………………………..                                     ‐                           ‐
                      Legal Advisors…………………………………………….                                    ‐                           ‐
                      Tax Advisors……………………………………………….                                     ‐                           ‐
                    2. Administrative Expenses                                     (20,796.08)                 (20,796.08)
                    3. Miscellaneous                                                      ‐                           ‐
                    Total Plan Developmental Expenses                                                          (20,796.08)
          Line 11b Distribution Plan Implementation Expenses:
                   1. Fees:
                     Fund Administrator…………………………………….                                    ‐                           ‐
                     IDC………………………………………………………………                                          ‐                           ‐
                     Distribution Agent………………………………………                                    ‐                           ‐
                     Consultants………………………………………………..                                      ‐                           ‐
                     Legal Advisors…………………………………………….                                     ‐                           ‐
                     Tax Advisors……………………………………………….                                      ‐                           ‐
                   2. Administrative Expenses                                             ‐                           ‐
                   3. Investor Identification:
                     Notice/Publishing Approved Plan……………                                                             ‐
                     Claimant Identification…………………………..                                  ‐                           ‐
                     Claims Processing……………………………………                                      ‐                           ‐
                     Web Site Maintenance/Call Center………….                                ‐                           ‐
                   4. Fund Administrator Bond                                             ‐                           ‐
                   5. Miscellaneous                                                       ‐                           ‐
                   6. Federal Account for Investor Restitution
                   (FAIR) Reports Expenses                                                ‐                           ‐
                   Total Plan Implementation Expenses                                     ‐                           ‐
                   Total Disbursements for Distribution Expenses Paid by the Fund                                 (20,796)
       Line 12      Disbursements to Court/Other:
           Line 12a Investment Expenses/Court Registry Investment
                    System (CRIS) Fees                                                    ‐                           ‐
           Line 12b Federal Tax Payments                                                                              ‐
                    Total Disbursement to Court/Other:                                                                ‐
                    Total Funds Disbursed:                                                                    (191,070.78)
       Line 13        Ending Balance (As of 06/30/2022):                                                      65,581,512


                                                                                                                          Exhibit A
                                                                                                                           Page 17
Case 2:15-cv-07425-RGK-PLA Document 485 Filed 08/26/22 Page 19 of 19 Page ID
                                 #:12631
                                STANDARDIZED FUND ACCOUNTING REPORT for USFIA ‐ Cash Basis
                                         Receivership; Case No. 15‐07425‐RGK‐GKSX
                                        Reporting Period 01/01/2022 to 06/30/2022
     Line 14         Ending Balance of Fund ‐ Net Assets:
          Line 14a   Cash & Cash Equivalents                                                                  65,581,512
          Line 14b   Investments                                                                                     ‐
          Line 14c   Other Assets or Uncleared Funds                                                                 ‐
                     Total Ending Balance of Fund ‐ Net Assets                                                65,581,512

     OTHER SUPPLEMENTAL INFORMATION:
                                                                                 Detail         Subtotal   Grand Total
                     Report of Items NOT to be Paid by the Fund:
     Line 15       Disbursement for Plan Administration Expenses Not Paid by the Fund:
          Line 15a Plan Development Expenses Not Paid by the Fund:
                   1. Fees:
                     Fund Administrator…………………………………….                             ‐                                 ‐
                     IDC………………………………………………………………                                   ‐                                 ‐
                     Distribution Agent………………………………………                             ‐                                 ‐
                     Consultants………………………………………………..                               ‐                                 ‐
                     Legal Advisors…………………………………………….                              ‐                                 ‐
                     Tax Advisors……………………………………………….                               ‐                                 ‐
                   2. Administrative Expenses                                      ‐                                 ‐
                   3. Miscellaneous                                                ‐                                 ‐
                   Total Plan Developmental Expenses Not Paid by the Fund                                            ‐
         Line 15b Plan Implementation Expenses Not Paid by the Fund
                  1. Fees:
                    Fund Administrator…………………………………….                              ‐                                 ‐
                    IDC………………………………………………………………                                                                      ‐
                    Distribution Agent………………………………………                              ‐                                 ‐
                    Consultants………………………………………………..                                ‐                                 ‐
                    Legal Advisors…………………………………………….                               ‐                                 ‐
                    Tax Advisors……………………………………………….                                ‐                                 ‐
                  2. Administrative Expenses                                       ‐                                 ‐
                  3. Investor Identification
                    Notice/Publishing Approved Plan……………                           ‐                                 ‐
                    Claimant Identification…………………………..                            ‐                                 ‐
                    Claims Processing……………………………………                                                                  ‐
                    Web Site Maintenance/Call Center………….                                                            ‐
                  4. Fund Administrator Bond                                       ‐                                 ‐
                  5. Miscellaneous                                                 ‐                                 ‐
                  6. FAIR Reporting Expenses                                       ‐                                 ‐
                  Total Plan Implementation Expenses Not Paid by the Fund                                            ‐
         Line 15c Tax Administrator Fees & Bonds Not Paid by the Fund                                                ‐
                  Total Disbursements for Plan Administration Expenses Not Paid by the Fund                          ‐
     Line 16       Disbursements to Court/Other Not Paid by the Fund:
          Line 16a Investment Expenses/CRIS Fees                                          ‐                          ‐
          Line 16b Federal Tax Payments                                                   ‐                          ‐
                   Total Disbursement to Court/Other Not Paid by the Fund:                                           ‐
     Line 17         DC & State Tax Payments                                              ‐                          ‐
     Line 18      No. of Claims:
          Line 18a # of Claims Received This Reporting Period……………………………………………………
          Line 18b # of Claims Received Since Inception of Fund…………………………………………………                                8,809
     Line 19      No. of Claimants/Investors:
          Line 19a # of Claimants/Investors Paid this Reporting Period……………………………………..
          Line 19b # of Claimants/Investors Paid Since Inception of Fund…………………………………




                                                                     By:
                                                                           Thomas Seaman
                                                                           Receiver for USFIA

                                                                   Date:         8/8/2022
                                                                                                                   Exhibit A
                                                                                                                    Page 18
